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                       Service Credit Union - 6792
Deposit Source   Transactions       Total            Connection to Business

    Cash              160        $350,650.86
   TOTAL                         $350,650.86

                                PAYEES
        Payee                    Count                        Total
    Ian Freeman                   25                      -$316,840.93
  Shire Free Church               13                       -$72,500.00
       TOTAL                                              -$389,340.93
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Summary of Deposit Sources
Shire Free Church Monadnock, Service Credit Union, A/C 6792 (closed)
Signers: Ian Freeman/M     E
Time Period: May 2016 - May 2017

Deposit Source          Count   Total Deposited    Percentage of Total
Ally Bank                 2                $0.46         0.00%
Cash                     160        $350,650.86          88.03%
Check Deposit/Missing    16           $39,591.07         9.94%
Error Correction          1                $0.50         0.00%
Item Missing              1              $100.00         0.03%
Prov CR SB Deposit        2            $8,000.24         2.01%
Wells Fargo               2                $0.81         0.00%
Grand Total              184        $398,343.94         100.00%


Summary of Payees
Shire Free Church Monadnock, Service Credit Union, A/C 6792 (closed)
Signers: Ian Freeman/M    E
Time Period: May 2016 - May 2017

Payee                  Count      Total Paid       Percentage of Total
Ally Bank                1                -$0.46         0.00%
Error Correction         1           -$1,001.00          0.25%
Freeman, Ian            25         -$316,840.93          79.54%
SB Post Error            1           -$4,000.12          1.00%
Shire Free Chruch        1           -$2,000.00          0.50%
Shire Free Church       11          -$66,700.00          16.74%
Shire Free Church Monad 1            -$3,800.00          0.95%
Wells Fargo              1                -$0.81         0.00%
Withdrawal               2           -$4,000.62          1.00%
Grand Total             44         -$398,343.94         100.00%




                                          as of June 27, 2019
